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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

ROBERT SHEAFFER,                           )
                                           )
           Plaintiff,                      )
                                           )
     v.                                    )     Case No. 19-cv-03899
                                           )
GLENDALE NISSAN, INC.                      )     Honorable Sara L. Ellis
                                           )
           Defendant.                      )


    DEFENDANT'S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
     FOR PARTIAL SUMMARY JUDGMENT AS TO PLAINTIFF’S TITLE VII
                HOSTILE WORK ENVIRONMENT CLAIM
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                                        INTRODUCTION

       It is well-established that Title VII was not intended to operate as a “general civility code”

nor “impose a legal duty to purify the language of the workplace of profanity.” Faragher v. Boca

Raton, 524 U.S. 775, 778 (1998); Romaniszak-Sanchez v. Int'l Union of Operating Eng'rs, Local

150, 121 F. App'x 140, 145 (7th Cir. 2005). Rather, Title VII is violated “when the workplace is

permeated with discriminatory intimidation, ridicule, and insult that is sufficiently severe or

pervasive to alter the conditions of the victim’s employment and create an abusive working

environment.” Oncale v. Sundowner Offshore Servs., 523 U.S. 75, 78 (1998). Plaintiff Robert

Sheaffer has failed to establish such a violation.

       Plaintiff, the former director of Glendale Nissan’s finance department, alleges that he was

subjected to sexual harassment by two male employees, Mario Zubek and Pete Binner, for a period

of two-and-a-half months in 2018. The total sum of the claimed harassment consisted of several

alleged sexual comments to Plaintiff and his co-workers purportedly showing Plaintiff a sexually

explicit photograph and drawing.

       Plaintiff’s hostile work environment claim fails for two reasons. First, Plaintiff cannot

establish that the alleged same-sex sexual harassment occurred “because of” his sex. Plaintiff does

not allege that Zubek or Binner’s conduct was motivated by sexual attraction toward Plaintiff, nor

a general hostility toward men in the workplace. Moreover, Plaintiff has not offered direct

comparative evidence that female employees were treated better than male employees (nor could

he as Glendale Nissan was not a “mixed-sex” workplace.)

       Second, Plaintiff has failed to establish that his alleged harassment was either severe or

pervasive. Instead, the isolated and short-lived conduct described by Plaintiff is precisely the type




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of “horseplay” and “juvenile behavior” the Seventh Circuit Court of Appeals has held is not

actionable under Title VII.

        Accordingly, this Court should enter judgment in favor of Defendant on Count III of

Plaintiff’s Complaint.

                              SUMMARY JUDGMENT STANDARD

        Summary judgment allows courts and parties to avoid “the unnecessary trial of claims for

which there are no genuine disputes of material fact, and thus no reason to incur the time and

expense of a trial.” Shanklin Corp. v. American Packaging Mach., Inc., No. 95 C 1617, 2006 U.S.

Dist. LEXIS 12419, *5 (N.D. Ill. Mar. 21, 2006). “Moreover, Rule 56 does not make summary

judgment an all or nothing proposition: the rule permits the entry of judgment for a claimant on

'any part' of that party's claim.” Id. at *5-6. A motion for partial summary judgment is a “useful

pretrial tool that streamlines the litigation process by narrowing the triable issues.” Eli Lilly & Co.

v. Viking Corp., No. 03 C 1674, 2005 U.S. Dist. LEXIS 44033, *9-10 (S.D. Ind. Feb. 7, 2005);

Shanklin, 2006 U.S. Dist. LEXIS 12419, at *6 (motions for partial summary judgment can

streamline litigation).

        Summary judgment should be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to a judgment as a matter of law.” Fed. R. Civ.

P. 56(a). The party seeking summary judgment “bears the initial responsibility of informing the

district court of the basis for its motion, and identifying those portions of the pleadings,

depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any,

which it believes demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). A genuine issue of material fact exists only where “the evidence

is such that a reasonable jury could return a verdict for the non-moving party.” Anderson v. Liberty



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Lobby, Inc., 477 U.S. 242, 248 (1986). To successfully oppose a motion for summary judgment,

the non-moving party must come forward with specific facts demonstrating that there is a genuine

issue for trial. Trask-Morton v. Motel 6 Operating L.P., 534 F.3d 672, 677 (7th Cir. 2008). The

non-moving party “must do more than simply show that there is some metaphysical doubt as to

the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

Indeed, “the mere existence of a scintilla of evidence in support of the [non-moving party's]

position will be insufficient; there must be evidence on which the jury could reasonable find for

the [non-moving party].” Anderson, 477 U.S. at 252.

                                          ARGUMENT

  I.     PLAINTIFF’S HOSTILE WORK ENVIRONMENT CLAIM FAILS AS A
         MATTER OF LAW BECAUSE THE ALLEGED HARASSMENT WAS NEITHER
         BASED ON PLAINTIFF’S GENDER NOR SEVERE OR PERVASIVE

         To survive summary judgment on a hostile work environment claim, a plaintiff must

establish all of the following: “(1) [his] work environment was both objectively and subjectively

offensive; (2) the harassment complained of was based on [his] gender; (3) the conduct was either

severe or pervasive; and (4) there is a basis for employer liability.” Scruggs v. Garst Seed Co., 587

F.3d 832, 840 (7th Cir. 2009). Plaintiff cannot, as a matter of law, establish the second or third

prong.

         Plaintiff alleges that between January and mid-March of 2018, he was subjected to the

following instances of alleged sexual harassment: (1) General Sales Manager Mario Zubek made

comments to Plaintiff that he would give Plaintiff a “blow job” if Plaintiff helped him with work-

related tasks; (2) on one occasion, Zubek showed Plaintiff a notebook in which Zubek had drawn

penises, referring to a television program in which a character had done something similar; (3) on

one occasion, Sales Manager Pete Binner put a photo of two men having sex on Plaintiff’s



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computer; and (4) on one occasion, Binner made a comment to Plaintiff, in the midst of a work-

related conversation, that he would perform anal sex on Plaintiff. (SOF, ¶¶ 11, 13, 15, 19.)

        Plaintiff testified that Zubek and Binner laughed about each of these instances. (SOF,

¶¶ 13, 16, 20.) Indeed, Plaintiff testified that “everything was a joke” to Zubek and Binner and that

both individuals “joked around with everybody.” (SOF, ¶¶ 23, 24.)

       Plaintiff further testified that he is heterosexual, a fact known to his co-workers because

Plaintiff’s girlfriend frequently visited him at the dealership. (SOF, ¶ 25.) While Plaintiff had

“suspicions” that Zubek and another male employee may have had a romantic relationship, his

suspicions were based solely on the fact that Zubek and the other employee spent time together,

including playing paintball, go karting, and bicycling. (SOF, ¶ 27.) Moreover, Plaintiff

acknowledged that Zubek and Binner were both married to women. (SOF, ¶ 26.) Importantly,

Plaintiff did not testify that Zubek and Binner’s alleged comments to him were motivated by sexual

attraction, and further testified that he did not believe the alleged harassment was based on a

general hostility toward men in the workplace. (SOF, ¶ 29.) Finally, Plaintiff testified that Zubek

and Binner’s alleged actions did not affect his ability to perform his work. (SOF, ¶ 31.)

           A. Plaintiff Cannot Establish That He Was Harassed “Because Of” His Gender.

       While the protections of Title VII extend to cases of same-sex sexual harassment, such

claims are only cognizable if “the conduct at issue was not merely tinged with offensive sexual

connotations, but constituted discrimination because of sex.” Lord v. High Voltage Software, Inc.,

839 F.3d 556, 561 (7th Cir. 2016) (emphasis supplied); see also Oncale v. Sundowner Offshore

Services, Inc., 523 U.S. 75, 82 (1998) (noting “Title VII does not prohibit all verbal or physical

harassment in the workplace; it is directed only at ‘discrimination . . . because of . . . sex’”). In

Oncale, the Supreme Court identified three methods of establishing that same-sex harassment



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occurred “because of” the plaintiff’s gender: (1) showing that the plaintiff received “explicit or

implicit proposals of sexual activity,” provided that he also comes forward with “credible evidence

that the harasser was homosexual”; (2) showing that he was harassed “in such sex-specific and

derogatory terms” so as to make it clear the harasser was motivated by a “general hostility to the

presence” of one sex in the workplace; and (3) offering direct comparative evidence showing the

harasser in a mixed-sex workplace treated one sex better than the other. Id. at 80–81. Plaintiff

cannot succeed under any of these methods.

                 i.    Plaintiff Cannot Prevail Under the First Oncale Method Because He
                       Was Not Subjected to Explicit or Implicit Proposals of Sexual Activity
                       and He Has Not Adduced Credible Evidence that His Alleged
                       Harassers Were Homosexual

       While in opposite-sex harassment cases involving explicit or implicit proposals of sexual

activity, it is reasonable to assume those proposals would not have been made to someone of the

same sex, “the same does not hold true for same-sex harassment cases absent some evidence that

the harasser was homosexual.” Lord, 839 F.3d at 562; see also Johnson v. Hondo, 125 F.3d 408,

413 (7th Cir. 1997).

       In Lord, the plaintiff alleged he was subject to a hostile work environment where his male

co-workers engaged in conduct including teasing the plaintiff about his romantic interest in another

employee, as well poking and slapping the plaintiff’s buttocks and grabbing him between the legs.

839 F.3d at 560. The Seventh Circuit affirmed summary judgment for the defendant employer,

holding “there is no evidence from which a trier of fact could infer that [plaintiff] was harassed

because of his sex. Nothing suggests that [the alleged harasser] was homosexual, and [his]

behavior was not so explicit or patently indicative of sexual arousal that a trier of fact could

reasonably draw that conclusion.” Id. at 562 (emphasis in original).




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       Similarly, in Johnson v. Hondo, the plaintiff alleged that he was subjected to a hostile work

environment where one of his male co-workers, Ollie Hicks, frequently made comments to him

such as “I’m going to make you suck my dick,” “come down to the carwash and suck my dick,”

and “come across the street and suck my dick.” 125 F.3d at 410 n.1. Hicks’ comments were often

accompanied by Hicks “touching himself as if masturbating through his clothes…within inches of

the plaintiff’s face.” Id. The Court affirmed summary judgment for the defendant employer on

plaintiff’s hostile work environment claim, finding:

       Besides the sexual content of Hicks’ remarks there is absolutely nothing in this
       record that supports a reasonable inference that the remarks were directed at
       Johnson on account of his gender. Although explicit sexual content or vulgarity
       may often take a factfinder a long way toward concluding that harassing comments
       were in fact based on gender…this need not necessarily be the case. Most
       unfortunately, expressions such as…“suck my dick,” are commonplace in
       certain circles and more often than not, when these expressions are used
       (particularly when uttered by men speaking to other men), their use has no
       connection whatsoever with the sexual acts to which they make
       reference…Ordinarily, they are simply expressions of animosity or juvenile
       provocation, and there is no basis in this record to conclude that Hicks’ usage was
       any different.

Id. at 412 (emphasis supplied).

       The Court in Johnson gave little weight to the plaintiff’s assertion that Hicks, the alleged

harasser, was “very possibly” a homosexual and held that “no reasonable factfinder could conclude

that Hicks directed his vulgar comments at Johnson because of his gender,” rather, “it appears

plain…that Hicks’ remarks to Johnson were nothing other than vulgar provocations having no

causal relationship to Johnson’s gender as male.” Id. at 413.

       Notably, in Shearrow v. Easton Enters., a case with a fact pattern nearly identical to the

instant case, this Court granted summary judgment for the defendant employer on the plaintiff’s

hostile work environment claim. No. 11 C 50050, 2013 U.S. Dist. LEXIS 207926, at *45 (N.D.

Ill. July 19, 2013). In Shearrow, the male plaintiff alleged that: (1) when he made a work-related

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request for certain items, his male manager replied “maybe if you suck my dick you will get them

a little quicker”; (2) his manager made “suck my dick” comments to plaintiff on a weekly basis

for nearly 2 years; and (3) the manager said to the plaintiff “I will fuck you over so hard, you won’t

know what hit you and you will be gone.” Id. at *3-5. In granting the employer’s motion for

summary judgment, the Court found the plaintiff failed to advance adequate evidence showing he

was harassed because of his sex because: (1) there was no evidence in the record that the manager

or plaintiff were homosexual (indeed, they were both married to women); and (2) the manager’s

“suck my dick” comments were nothing more than unactionable “crude juvenile provocation[s].”

Id. at *27-28.

       Likewise, in the instant case, no reasonable factfinder could conclude that Zubek and

Binner’s alleged conduct was directed at Plaintiff because of his gender. The alleged comments

made by Zubek and Binner are akin to the statements in Johnson and Shearrow, such as “suck my

dick” and “I will fuck you over so hard” and can be construed as nothing more than “expressions

of animosity or juvenile provocation,” which the Seventh Circuit and this Court have consistently

held are insufficient to establish a hostile work environment claim. Johnson, 125 F.3d at 413;

Shearrow, 2013 U.S. Dist. LEXIS 207926, at *31-32. In fact, Plaintiff’s testimony was clear that

Zubek and Binner found their alleged conduct to be funny, which belies any suggestion that they

were actually requesting sexual favors from Plaintiff. See Shearrow, 2013 U.S. Dist. LEXIS

207296, at *31 (noting that if the plaintiff’s manager “was actually requesting that plaintiff perform

a sex act on him, it stands to reason that he would have given plaintiff an opportunity to comply.”)

       Moreover, Plaintiff’s allegation that he had “suspicions” that Zubek may have had a

romantic relationship with another male employee is even weaker than the Johnson plaintiff’s

allegation that his harasser was “very possibly a homosexual,” which the Court deemed was “no



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showing at all.” Johnson, 125 F.3d at 413. Accordingly, Plaintiff cannot succeed under the first

method of proof set forth in Oncale. 523 U.S. at 80.

                 ii.    Plaintiff Cannot Prevail Under the Second Oncale Method Because He
                        Admitted that Zubek and Binner Did Not Have a General Hostility to
                        the Presence of Men in the Workplace

       Plaintiff has failed to establish that he was harassed in such “sex-specific and derogatory

terms” so as to make it clear the harasser was motivated by a “general hostility” to the presence of

men in the workplace. Oncale, 523 U.S. at 80. Indeed, at his deposition, Plaintiff testified that he

did not believe that his alleged harassment was by Mario Zubek or Pete Binner was motivated by

a general hostility toward men in the workplace. (SOF, ¶ 29.)

       Q.      Do you think that Mr. Zubek’s alleged harassment of you was
               motivated by a general hostility towards men in the workplace?

       A.      I don’t know what his – I don’t believe he had a general hostility toward
               men at the workplace.

       Q.      Do you think that Mr. Binner’s alleged harassment of you was
               motivated by a general hostility towards men in the workplace?

       A.      I don’t believe that either, no.

(SOF, ¶ 29 and Exhibit A, pp. 150:3-12.)

       Accordingly, Plaintiff’s own testimony prevents him from prevailing under the second

Oncale method.

                 iii.   Plaintiff Cannot Prevail Under the Third Oncale Method Because
                        Glendale Nissan Was Not a “Mixed-Sex” Workplace and Plaintiff Has
                        Not Offered Direct Comparative Evidence Showing That Women Were
                        Treated Better Than Men.

       If a plaintiff works in a “mixed sex” workplace, he may show that his harassment was

“because of” sex if he is able to “offer direct comparative evidence about how the alleged harasser

treated members of both sexes in a mixed-sex workplace.” Oncale, 523 U.S. at 80-81. Plaintiff



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cannot prevail under this method because: (1) Glendale Nissan was not a “mixed sex” workplace,

and (2) even if it was, Plaintiff has failed to offer any direct comparative evidence that women

were treated more favorably than men.

                            a. Glendale Nissan Was Not a Mixed Sex Workplace

       The case law is clear, and rooted in common sense, that where a work place is not a “mixed

sex” workplace, a plaintiff cannot establish that his employer treated individuals of one gender

better than the other. See Johnson, 125 F.3d at 413 n.6.

       In Johnson, the Seventh Circuit found the plaintiff could not establish that his employer

treated women more favorably than men because plaintiff worked in an “all-male environment.”

Id. The Court rejected the plaintiff’s argument that his workplace was mixed-gender because

female employees and visitors occasionally passed through the plaintiff’s workplace, finding that

all of the employees with whom the plaintiff and alleged harasser had “close and regular contact”

were men. Id.; see also Warner v. USF Holland Inc., No. 08-C-6823, 2012 U.S. Dist. LEXIS 8717,

*11–12 (N.D. Ill. Jan 25, 2012) (finding that a single-gender workplace existed where plaintiff

worked loading trucks, all truck drivers and dockworkers were men, and the only women who

worked for the company worked in the billing department).

       In the instant case, Plaintiff testified that at Glendale Nissan, like most automobile

dealerships, the majority of employees were men. (SOF, ¶ 39.) Indeed, during the period that

Plaintiff alleges he was subjected to harassment, more than 80% of the employees at Glendale

Nissan were men. (SOF, ¶ 40.) Additionally, all of the employees employed in the sales and

finance departments (the individuals with whom Plaintiff had close and regular contact) were men.

(SOF, ¶ 41.) Finally, the alleged instances of harassment occurred in only two places – Plaintiff’s




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office (where only he and the alleged harasser were present) and at the sales tower, where only

male employees worked. (SOF, ¶¶ 11, 15, 19, 42.)

       Accordingly, because Glendale Nissan was not a “mixed-sex” workplace for purposes of

Title VII, Plaintiff cannot prevail under the third Oncale method.

                             b. Even if Glendale Nissan Was a Mixed Sex Workplace, Plaintiff
                                Has Failed to Offer Any Direct Comparative Evidence That
                                Women Were Treated More Favorably Than Men

       Even if Glendale Nissan was considered a mixed-sex workplace, in order to succeed under

the third Oncale method, Plaintiff must offer “direct comparative evidence” that his alleged

harassers treated one sex better than the other. Oncale, 523 U.S. at 80-81. Importantly, a plaintiff’s

own assertion that he only saw his manager harass male employees and not female employees “is

not direct comparative evidence that [the manager] treated the sexes differently because it is

equivocal.” Shearrow, 2013 U.S. Dist. LEXIS 207926, at *34.

       Here, Plaintiff has failed to offer direct comparative evidence that his alleged harassers

treated women more favorably than men. Plaintiff’s self-serving affidavit, which provides that he

never personally witnessed Zubek or Binner harass female employees (SOF, Exhibit D) is

insufficient as a matter of law. Shearrow., 2013 U.S. Dist. LEXIS 207926 at *34 (“Plaintiff's own

assertion that he only saw [his alleged harasser] harass male employees like himself …and that he

never saw [him] harass a female employee, is not direct comparative evidence that [the harasser]

treated the sexes differently”); see also McCown v. St. John’s Health Sys., 349 F.3d 540, 544 (8th

Cir. 2003) (affirming summary judgment for employer on same-sex harassment claim where

plaintiff offered an affidavit stating that he never knew of his harasser sexually harassing female

employees in the workplace, holding “[plaintiff’s] express absence of knowledge is not sufficient




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to    generate   a   jury   question   as   to   whether   [the   harasser’s]   conduct   constituted

‘discrimination…because of…sex’”).

        Importantly, Plaintiff has not proffered evidence that any other employee, male or female,

was harassed, aside from him. Such allegations of “personal animus” toward a plaintiff are

insufficient to establish a hostile work environment. See Shafer v. Kal Kan Foods, Inc., 417 F.3d

663, 666 (7th Cir. 2005) (holding that plaintiff failed to establish that his alleged harassment

“reflected more than personal animosity or juvenile behavior”); Brown v. Advocate S. Suburban

Hosp. & Advocate Health & Hosps. Corp., 700 F.3d 1101, 1105 (7th Cir. 2012) (“Title VII protects

against discrimination, not personal animosity…”) (internal quotations omitted).

        Accordingly, because Plaintiff has failed to establish that he was subjected to harassment

“because of his gender,” his claim for a hostile work environment pursuant to Title VII fails and

this Court should grant summary judgment for Defendant.

            B. The Alleged Harassment Was Neither Severe Nor Pervasive

        In analyzing whether conduct is sufficiently severe or pervasive to establish a hostile work

environment claim, courts look at several factors, including: “the frequency of the discriminatory

conduct; its severity; whether it is physically threatening or humiliating, or a mere offensive

utterance; and whether it unreasonably interfered with an employee’s work performance.”

Faragher v. Boca Raton, 524 U.S. 775, 787-788 (1998). In essence, the alleged harassment must

be “so severe or pervasive as to alter the conditions of the victim’s employment and create an

abusive working environment.” Id. at 786 (internal citations omitted).

        In the instant case, Plaintiff alleged that three of the four instances of harassment occurred

on only one occasion. (SOF, ¶¶ 13, 15, 19.) Although Plaintiff alleges that Zubek’s comments

about “blow jobs” occurred “a couple of times a week” between January and mid-March of 2018



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(although not once in the 21 months prior), such comments could not be construed as anything

more than an “offensive utterance.” Faragher, 524 U.S. at 788. Moreover, none of the alleged

conduct that occurred was “physically threatening or humiliating,” as Plaintiff himself admitted

that Zubek and Binner laughed when making the alleged comments and “considered everything a

joke.” (SOF, ¶ 23); see Moser v. Indiana Dep't of Corr., 406 F.3d 895, 903 (7th Cir. 2005)

(affirming summary judgment for defendant on plaintiff’s hostile work environment claim, finding

that comments made of a sexual nature were made in the context of “jokes, as opposed to serious

or threatening comments, [and thus] simply do[] not rise to the level of harassment our court has

held actionable”); Walton v. Van Ru Credit Corp., No. 10-344, 2011 U.S. Dist. LEXIS 138560, at

*24 (N.D. Ill. Dec. 2, 2011) (granting defendant’s motion for summary judgment, finding

plaintiff’s allegations of sexual harassment insufficient to constitute a hostile work environment

where the plaintiff himself characterized the statements as “jokes, albeit jokes that went too far”).

       Indeed, the Seventh Circuit has found much more egregious behavior than that alleged by

Plaintiff to be insufficient to meet the severe and pervasive requirement. In Shafer v. Kal Kan

Foods, 417 F.3d 663, 665 (7th Cir. 2005), the plaintiff alleged that a male coworker harassed him

both verbally and physically, including comments that the plaintiff’s “cheerleader ass” “would

look really nice on [his] dick;” forcing the plaintiff’s face down to his clothed crotch while moving

his hips to give the impression the plaintiff was performing fellatio; and grabbing the plaintiff’s

hand and miming the plaintiff masturbating him. The Shafer Court affirmed summary judgment

for the defendant employer on the plaintiff’s hostile work environment claim, noting that “sexual

horseplay differs from sex discrimination and Title VII covers only discriminatory conduct. Id. at

666.




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          Finally, Plaintiff’s claim also fails because he admitted that Zubek and Binner’s alleged

conduct did not interfere with his ability to perform his job. (SOF, ¶ 31); see Walton, 2011 U.S.

Dist. LEXIS 138560, at *24 (granting defendant’s motion for summary judgment where “there is

no indication that [the alleged harasser’s] comments interfered with [plaintiff’s] ability to do his

job”); Berry v. Chicago Transit Authority, 618 F.3d 688, 691-92 (7th Cir. 2010) (affirming

summary judgment where plaintiff failed to show, among other things, that the defendant’s

conduct negatively affected her work performance).

         Accordingly, for the additional reason that Plaintiff has failed to establish that the alleged

harassment he suffered was either severe or pervasive, this Court should grant summary judgment

for Defendant on Plaintiff’s hostile work environment claim.

                                           CONCLUSION

         Therefore, for the foregoing reasons, Defendant Glendale Nissan, Inc. respectfully requests

that this Court enter judgment for Defendant on Plaintiff’s Hostile Work Environment Claim

(Count III of the Complaint) and grant such further relief as it deems just and equitable.



 Dated: April 1, 2021                                GLENDALE NISSAN, INC.

                                                     By:            /s/ Elizabeth M. Pall
                                                                    One of Its Attorneys


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                               CERTIFICATE OF SERVICE

        The undersigned, an attorney, states that she caused copies of the foregoing Defendant’s
Memorandum of Law in Support of its Motion for Partial Summary Judgment as to Plaintiff’s Title
VII Hostile Work Environment Claim to be filed and served through the Court's CM/ECF
electronic filing system on April 1, 2021.



                                                   /s/ Elizabeth M. Pall




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